                       Case 1:24-mj-04333-DHH Document 1 Filed
                                                AUSA: Roy       06/27/24 Page
                                                          R. Kranz            1 of 5 (989) 895-5712
                                                                           Telephone:
AO 91 (Rev. ) Criminal Complaint               Officer:                 Nick Diedrich, BIA            Telephone: (989) 775-4700

                                        UNITED STATES DISTRICT COURT
                                                                   for the
                                                   Eastern District of Michigan

United States of America
   v.
David Glenn Perez Jr.                                                         Case No.     PM
                                                                                           -XGJH0RUULV3DWULFLD7
                                                                                           )LOHG




                                                      CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

         On or about the date(s) of             7/10/23 (Ct1) and 6/8/24 (Ct2)        in the county of            Isabella        in the
       Eastern            District of       Michigan           , the defendant(s) violated:
                  Code Section                                                Offense Description
COUNT 1) 18 U.S.C. §§ 2242(2), 1153                       1) Defendant, an Indian, within Indian country, knowingly engaged in a sexual
                                                          act with C.P., that is, contact between the penis and vulva, while C.P. was
COUNT 2) 18 U.S.C. §§ 2244(a)(1), 1153                    incapable of appraising the nature of the conduct and while C.P. was
                                                          physically incapable of declining participation in, or communicating
                                                          unwillingness to engage in, the sexual act, in violation of 18 U.S.C. §§ 2242(2)
                                                          and 1153;
                                                          2) Defendant, an Indian, within Indian country, knowingly engaged in sexual
                                                          contact with W.A., that is, he intentionally touched W.A.'s genitalia through
                                                          the clothing with the intent to abuse, humiliate or arouse the sexual desire of
                                                          any person through the use of force, in violation of §§ 2242(2)(c) and 1153.
         This criminal complaint is based on these facts:
See attached affidavit.




✔ Continued on the attached sheet.

                                                                                              Complainant’s signature

                                                                         Off. Nick Diedrich, BIA
                                                                                               Printed name and title

Sworn to before me DQGsigned in my presence.


Date: 06/12/2024                                                                                  Judge’s signature

City and state: Bay City, Michigan                                       Patricia T. Morris, United States Magistrate Judge
                                                                                               Printed name and title
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           AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
                    FOR DAVID GLENN PEREZ JR.

I, Nick Diedrich, being duly sworn, depose and state:

   1. I am a officer with the BIA. I have been a law enforcement officer for

      approximately 15 years. During my career I have been involved in numerous

      investigations concerning sexual assault. The following is based on a statement

      from witnesses and statements from other law enforcement officers and

      individuals.

   2. The information included in this affidavit is provided for the limited purpose of

      establishing probable cause that David Glenn Perez Jr. (“David”) committed the

      offense of Sexual Abuse on or about July 10, 2023, in violation of 18 U.S.C. §

      2242(2) and committed the offense of Abusive Sexual Contact on or about June

      8, 2024 and therefore it does not contain all of the facts known to me.

      Additionally, unless otherwise noted, wherever in this affidavit I assert that an

      individual made a statement, that statement is described in substance herein and

      is not intended to be a verbatim recitation of such statement.

   3. Affiant learned through the course of the investigation that David Glenn Perez

      Jr. had sexual intercourse with the 31-year-old victim, C.P. (“V1”) when V1

      was intoxicated and sleeping.

   4. V1 told police that she had been staying with David and her boyfriend, Blake


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   Wilson, for some time before the incident. V1 said that immediately upon

   realizing what was happening, V1 left David’s room. V1 said that on the way

   out of the room, David said “you wanted it.”

5. At that time, V1 was incredibly upset. Within a short period of time, while still

   upset and excited, V1 talked to Blake Wilson about what happened. According

   to Wilson, V1 said that V1 woke up to the David having sex with her. V1 told

   police she remembered David being in the bed with her with his pants down

   and that he was naked from the waist down.

6. V1 also told police that the day before the incident David grabbed V1’s arm

   while she was trying to clean his house and he attempted to pull her onto a

   couch.

7. A witness that asked to remain anonymous (“Anonymous”) told police that

   after the sexual assault incident David told Anonymous that David had sex with

   V1, but that it was consensual. When Anonymous told David that it wasn’t

   right, David said he wasn’t the first person to do something like that (meaning

   have sex with his daughter). David told Anonymous that V1 was the aggressor

   with regard to the sex. According to Anonymous, David said he went to bed in

   his bedroom and then V1 came in the room. David said he didn’t know who it

   was that came in the room but David knew the sex was consensual. David said

   he didn’t realize it was his daughter until the sex was over and then they were
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   both sick to their stomachs. Anonymous said he/she would testify in court about

   this if necessary.

8. The police, however, interviewed David after this and David claimed that he

   never has sex with V1.

9. Mary Perez, suspect’s sister, told the police that 2 or 3 years earlier suspect said

   to her “What, you want to see me fuck my sister?” Suspect then walked up to

   her and laid her down on a couch. Mary physically resisted David and was able

   to avoid being sexually assaulted.

10. A.W., the nephew of David, (“V2”) told police that on June 8, 2023, David was

   the passenger in a vehicle driven by V2. When they got to the David’s house

   the suspect moved towards V2. V2 thought David was going to give V2 a hug.

   Instead, according to V2, David grabbed V2’s thigh “really hard” and then

   grabbed ahold of V2’s genitals for 30 seconds to a minute.

11.According to V2, V2 told David to stop but David just laughed it off. V2 said

   suspect grabbed and manipulated V2’s genitals, therefore, V2 believes the

   sexual touching was done intentional.

12.V2 also told police that David did something very similar to him about a year

   earlier where David forcefully grabbed V2 genitals.




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   13. Counts one and two both happened on the Isabella reservation in Indian

      country and Affiant knows that David Perez Jr. is an Indian.

   14.Based on the above-described information, there is probable cause to believe

      that on or around July 10, 2023, David Glenn Perez Jr. committed sexual abuse

      in violation of 18 U.S.C. §§ 2242(2) and 1153 and that on or about June 8,

      2024, Perez also committed abusive sexual contact in violation of 18 U.S.C. §§

      2244(a)(1) and 1153.



                                                  __________________________
                                                  Off. Nick Diedrich, BIA

Sworn to before me and signed in my presence, and/or by reliable electronic means,
on this _____
           day of June 2024.


______________________________
  ______________________________
HON. PATRICIA T. MORRIS
 United States Magistrate Judge




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